944 F.2d 901
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Quintis DYE, Jr., Petitioner-Appellant,v.Randy LEE, Attorney General of North Carolina, Respondents-Appellees.
    No. 91-6047.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 24, 1991.Decided Sept. 23, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.   Frank W. Bullock, Jr., District Judge.  (CA-89-889-R)
      Quintis Dye, Jr., appellant pro se.
      Richard N. League, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before DONALD RUSSELL, MURNAGHAN and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Quintis Dye, Jr. seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Dye v. Lee, CA-89-889-R (M.D.N.C. Mar. 25, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    